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____ LOGGED _____ RECEIVED
4:18 pm, Jan 21 2021                                                                              1:21-mj-159 TMD
AT BALTIMORE
CLERK, U.S. DISTRICT COURTAFFIDAVIT    IN SUPPORT OF APPLICATION FOR A COMPLAINT
DISTRICT OF MARYLAND
BY ______________Deputy
                  I, Rachel S. Corn, a Special Agent (SA) with the Federal Bureau of Investigation (FBI),

          Baltimore Division, Baltimore, Maryland, being duly sworn, depose and state as follows:

                  1.         I have been a SA with the FBI since May 2006. Since September 2006, I have

          primarily investigated federal violations concerning child pornography and the sexual exploitation

          of children. I have gained experience through training in seminars, classes, and daily work related

          to conducting these types of investigations. Specifically, I have received FBI Crimes Against

          Children training, FBI Innocent Images Online Undercover training, and FBI Peer-to-Peer

          Network Online Investigation training. I have participated in the execution of numerous search

          warrants, of which the majority have involved child exploitation and/or child pornography

          offenses. Many of the child exploitation and/or child pornography search warrants resulted in the

          seizure of computers, cell phones, magnetic storage media for computers, other electronic media,

          and other items evidencing violations of federal laws, including various sections of Title 18, United

          States Code §§ 2252A and 2422 involving child exploitation offenses. I have also participated in

          the execution of numerous search warrants for online accounts, such as email accounts, online

          storage accounts and other online communication accounts related to child exploitation and/or

          child pornography. In the course of my employment with the FBI, I have observed and reviewed

          numerous examples of child pornography (as defined in 18 U.S.C. § 2256) in all forms of media

          including computer media and within online accounts.

                  2.         As a federal agent, I am authorized to investigate violations of laws of the United

          States and am a law enforcement officer with the authority to execute warrants issued under the

          authority of the United States.




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        3.      This affidavit is made in support of a criminal complaint and arrest warrant for

Steven Martin Bickling, born in 1974, for violation of Title 18, United States Code, Section 18

U.S.C. Section 2422(b)                         Whoever, using the mail or any facility or means of

interstate or foreign commerce, or within the special maritime and territorial jurisdiction of the

United States knowingly persuades, induces, entices, or coerces any individual who has not

attained the age of 18 years, to engage in prostitution or any sexual activity for which any person

can be charged with a criminal offense, or attempts to do so, shall be fined under this title and

imprisoned not less than 10 years or for life.

        4.      Further, Maryland Code, Criminal Law § 11-

not: (1) cause, induce, solicit, or knowingly allow a minor to engage as a subject in the production

of obscene matter or a visual representation or performance that depicts a minor engaged as a

                                                                                                    aw §

11-

possess with the intent to distribute any matter, visual representation, or performance: (i) that

depicts a minor engaged as a subject in sadomasochistic abuse or sexual conduct; or (ii) in a

manner that reflects the belief, or that is intended to cause another to believe, that the matter, visual

representation, or performance depicts a minor engaged as a subject of sadomasochistic abuse or

sexual conduc

of up to $25,000. Maryland Code, Criminal Law § 11-207(b)(1).

        5.      The statements in this affidavit are based in part on information and reports

provided by the Baltimore City Police Department and Special Agents of the FBI, and on my

experience and background as a Special Agent of the FBI. Since this affidavit is being submitted

for the limited purpose of securing a criminal complaint and arrest warrant, I have not included



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each and every fact known to me concerning this investigation. I have set forth only the facts that

I believe are necessary to establish probable cause.

                                      PROBABLE CAUSE

       6.      On May 21, 2020, an online tip was submitted to the FBI National Threat

Operations Center (NTOC), via the website tips.fbi.gov, to report allegations involving an

individual viewing videos depicting minors getting sexually abused. Follow up investigation

determined that Steven Bickling, residing at 27 South Curley Street, Baltimore, Maryland 21224,

was the subject of the online tip.

       7.      On August 19, 2020, Baltimore City detectives and members of the FBI Violent

Crimes Against Children Task Force, including myself, executed a state search and seizure

warrant at the residence located at 27 South Curley Street, Baltimore, Maryland 21224. Bickling

was present and waived his Miranda rights and consented to an interview, in which I participated

in, and which was audio and video recorded. Bickling advised his phone number was 443-739-

3953 and his email address was sbick36@gmail.com. Bickling currently lives alone and has

lived at his current residence for approximately one year. Bickling advised his current cell phone

was an iPhone and that he has had the iPhone for three years. Bickling has owned his laptop for

approximately eight years and no one else uses his laptop. Bickling advised that he had child



laptop. Initially Bickling stated he did not know how he acquired the videos because he had

been drinking at the time and said it was over a year ago. Then Bickling advised that he visited

child modeling websites and clicked on links and eventually found child pornography videos.

Bickling stated that he thought he saved twenty to thirty videos. Bickling initially stated he

saved the videos once or twice over a two-month period and that he watched the videos



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approximately once a month, or less, and the last time he viewed the videos was possibly a

couple of weeks prior to the interview when he was drinking. Bickling stated he paid

approximately $30 for access to the website and that he probably used his Visa credit card to pay

for the access. Bickling denied watching child pornography with other people and denied

trading the videos with others. Bickling stated his cell phone will not have child pornography on

it. Bickling denied touching or taking sexual pictures of his daughter or any other child

inappropriately. Bickling initially denied having any other digital items. When advised that

several thumb drives were found he stated no child pornography would be found on them. After

being advised that at least one thumb drive contained naked pictures of children, Bickling stated

he had               the thumb drives in awhile so he did not recall what was located on them.

         8.    Later the same day, during an interview with another investigator, Bickling

admitted to communicating via Skype with people in the Philippines after first meeting them on

adult Asian chat room                      I would send them money if they brought their child to

get naked on Skype

child was eight or nine years old. Bickling stated he did not ask the children to touch themselves

or for anyone to touch them. Bickling requested the child to turn over, bend over on their hands

and knees. Bickling admitted to masturbating while the child was on Skype and that it would

last approximately five to ten minutes. Bickling paid $50 via PayPal. Bickling stated he has

done this eight to ten times over the past two years.

         9.    On August 19, 2020, at the end of the interview, Bickling wrote the following



fillipinawebcams.com which had live chat rooms with Asian women. After some visits to some

rooms I heard children in the background and got the idea to ask the female performer to see if



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she would join me on Skype with her female child and I would pay her directly for a nude show

with her daughter. I would join them on Skype video an usually pay $50USD for her daughter to

get naked and pose, mostly bent over from behind. I would masterbate until ejaculation in 5 to

10 minutes. In a two year span this occurred probably between 12-15 times is my best guess. I

have not done this act since most likely October or early November of 2019. These acts were



       10.    A subpoena was sent to Microsoft for subscriber information for the accounts

associated with                                                            . Microsoft provided

the following subscriber information regarding the accounts:

              a.      Signin Name:                  sbick36
                      Name:                         Steve Bickling
                      Current Email Address:        snick36@gmail.com
                      Account Created:              12/22/2012

              b.      Signin Name:                  sbick36@gmail.com
                      Alias:                        live:sbick36
                      Name:                         Steve Bickling
                      Current Email Address:        sbick36@gmail.com
                      Account Created:              07/15/2018

       11.    On October 19, 2020, a state search warrant was granted by Honorable Judge Jack

Lesser, District Court of Maryland for Baltimore City, and executed for the Microsoft/Skype

accounts associated with sbick36@gmail.com                 .

       12.    A review of the search warrant results provided by Microsoft for the account

associated with sbick36@gmail.com     live:sbick36 ) revealed numerous conversations with

different Skype users. Below are excerpts of some of the conversations:

              a.      On November 1, 2018, live:sbick36 says to User 1


                      Bickling smiling at the camera riding a bicycle.



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              b.     On November 25, 2018, live:sbick36 says to User 2
                     kids show her

              c.     On May 7, 2019, live:sbick36 says to User 3
                     that ok with you

              d.     On May 7, 2019, live:sbick36 says to User 4



              e.     On May 8, 2019, live:sbick36 says to User 5
                     show now. girl 8-           live:sbick36


              f.     On June 20, 2019, live:sbick36 says to User 6

                     l                                    -

              g.     Between March 31, 2020, and April 1, 2020, live:sbick36 says to User 7


              h.     On April 3, 2020, live:sbick36 says to User 8


              i.     On May 8, 2020, live:sbick36 says to User 9 There is another girl showing


       13.    Live:sbick36 communicates with User 10, off and on, between October 30, 2018,

to August 7, 2020. Below are excerpts from a conversation live:sbick36 has with User 10

between October 30, 2018, and November 1, 2018:

              live:sbick36: do you do video with young girl with you for direct payment?

              User 10:       Yessa
              User 10:       *Yessss

              live:sbick36: what age girl?

              User 10:       6 years old
              User 10:       My youngest sister.

              live:sbick36: perfect!




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       14.    During the conversation with User 10, live:sbick36 acknowledges that his name is

Steve. On October 31, 2018, live:sbick36 sends money via PayPal and on November 1, 2018,

live:sbick36 says



       15.    Beginning on November 11, 2018, User 10 contacts live:sbick36 using another

username and apologizes for stealing                 money. The conversation continues as

follows, with my comments in brackets:

              live:sbick36: Send the pics and videos I paid you for

              User 10:       Hello babe, sorry for what i have done for you. I wont do it again,
                             maybe you heard this reason many times, but i hope you will
                             considered me that I am difference with them.
              User 10:       Can you still forgive me and give me second chance babe?

              live:sbick36: Sure if you send me pics and videos of young
       ***
              live:sbick36: I like 8-10
       ***
              User 10:       I will call you later babe when my young sister will be there with
                             me already.
       ***
              live:sbick36: send me pics of her

              User 10:       What kind of pic?

             live:sbick36: naked or sexy panty or both
       ***
       On November 20, 2018, the conversation continues:

              User 10:                          IMG_4768.
                             naked prepubescent female with one leg up and bent at the knee.]
              User 10:       You miss her pussy?

              live:sbick36: i miss her asshole cuz that's where im gonna fuck her
       ***
       On November 25, 2018:




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               User 10:                                 7e77406e-6236-4fe9-8dd4-
                               5deb26fdb3b8.jpg
                               female from the side and her buttocks is exposed.]
               User 10:        In case you missed her ass.
         ***
               live:sbick36:                        image.png
                             naked prepubescent female. The prepubescent female legs are
                             open exposing her genitalia to the camera.]
               live:sbick36: i can get my own pics. I want a sample of a fuck video
         ***
               User 10:                                44B53905-534C-4541-A140-
                             BEC1B2E0C4C4.jp
                             sitting on a closed toilet seat with her legs spread and her genitalia
                             is exposed to the camera.]
               live:sbick36: i have 1000 of those kind of pics.
               live:sbick36: i want fuck

         16.   A review of the search warrant results provided by Microsoft for the account

sbick36 revealed numerous conversations with different Skype users. From November 9, 2018,

to November 15, 2019, sbick36 communicates with a user who appears to be the same user as

User 10 mentioned above. On December 7, 2018, sbick36 sends money via PayPal and says

                                              closeer                         and

wider.    User 10                                                                          deal!... i

                    Sbick36 sends

                    User 10

the show. Sbick36 says you owe me a show." On December 8, 2018, User 10 asks sbick36




then asked for an additional $200. yo                      Over the next few days, sbick36 and

User 10, discuss sbick36 releasing the money for a show. Sbick36 says his bank approved the

release and User 10 states that he had the wrong ATM card associated with his account and due

to that he did not receive the money.


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       17.    Below are excerpts from their communication, which occurred on December 16,

2018, between sick36 and User 10:

              sbick36:      wheres ur sister

              User 10:      She is here with me now steve

              sbick36:      in lingerie?
       ***
              User 10:      Yes she have the lingerie now

              sbick36:      show
       ***
              User 10:      We are ready now steve
              User 10:      Shall we call you

              sbick36:      yes
              sbick36:      sexy
              sbick36:      stand up
              sbick36:      have her stand up
       ***
              User 10:      Is she doing good?

              sbick36:      Steve Bickling started recording...
              sbick36:      dogie
              sbick36:      have her suck u

              User 10:      Is it perfect?

              sbick36:      yes
              sbick36:      she suck u now

              User 10:      Hmmmmm
              User 10:      Sure
              User 10:      And now we will play
              User 10:      This is what u like right?

              sbick36:      yes

              User 10:      Tell us what to do

              sbick36:      she suck u

              User 10:      Uhm yes, well I guess you start sending and release the money you
                            hold now


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     sbick36:    it was released

     User 10:    Then we will start to play.
     User 10:    I mean I told you I was put the wrong atm number to my paypal
     User 10:    And we ask you again steve to send what you've said last day that
                 you will send 400$
     User 10:    You still there?

     sbick36:    let me see how she suck cock

     User 10:    Yes I told her already.
     User 10:    And she said that you will gonna send first and she also promised
                 that she will do her best as she can.

     sbick36:    show me

     User 10:    Okay she will do it now

     sbick36:    Steve Bickling started recording...
     sbick36:    deep
     sbick36:    that wasnt very good

     User 10:    Don't worry steve we will do what you want to make you happy
     User 10:    Okay.

     sbick36:    Steve Bickling started recording...

     User 10:    So steve. We will do it well and very good

     sbick36:    grab the back of her head and force it in deep

     User 10:    Steve
     User 10:    We will do what you want steve
     User 10:    But we even didn't received money from you.
     User 10:    I can show you the problem and message from my paypal
     User 10:    Yes it was released but we didn't receive coz I put the card number
                 instead of atm number.
     User 10:    That's why I didn't received it.

     sbick36:    have her try again and go deeper

     User 10:    But now It fixed and I hope you will do what we want too. Please
                 steve

     User 10:    Don't worry steve we won't run you now


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               User 10:       Coz nowadays we have only you.

               sbick36:       finger her pussy

               User 10:       Okay steve. I will do it now.

               sbick36:       lick it

               User 10:       Lick it too steve
               User 10:       What happened steve?
               User 10:       What's your problem steve?
               User 10:       We do what you want.
               User 10:       Steve I know we don't do our best - Next time steve, I promise that
                              she will gonna suck me deep
               User 10:       I will treat her like not my sister.
               User 10:       That is what you want right?
               User 10:       Let me know steve when do you want us to play again, okay?
               User 10:       Sorry for not giving you our best steve.
               User 10:       I'm very disappointed.

               sbick36:       she needs to get better as sucking cock

               User 10:       It's because you didn't listen to my sister she said that she will suck
                              me better if she sees that you send her the money you have said to
                              us last day.
               User 10:       Steve - I really need to pay my rental bills steve or else we don't
                              have a house to sleep.

       18.     PayPal provided the following information in response to an administrative

subpoena for the following account:

                      Name:                  Steve Bickling
                      Email:                 sbick36@gmail.com
                      DOB:                   XX/XX/1974
                      Mobile:                443-739-3953
                      Created On:            07/17/2002
                      Address:               27 S Curley St, Baltimore, Maryland

       19.     The PayPal records also indicated that payments were sent

on October 31, 2018, and December 7, 2018, to the email addresses provided by User 10 during

their Skype chats on those dates.

                                        CONCLUSION


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       20.     Based upon the foregoing information set forth in this application, I respectfully

submit that there is probable cause to believe that Steven Martin Bickling, violated Title 18, United

States Code, Section 2422(b) (attempted online coercion and enticement of a minor).




                                                      __________________________
                                                      Special Agent Rachel S. Corn
                                                      Federal Bureau of Investigation



Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
Fed. R. Crim. P. 4.1 and 4 this _____________ of January 2021.


_______________________________________
HONORABLE THOMAS M. DIGIROLAMO
UNITED STATES MAGISTRATE JUDGE




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